Case 3:23-cv-00017-HEH Document 1-10 Filed 01/05/23 Page 1 of 2 PagelD# 61

VIRGINIA: IN THE CIRCUIT COURT OF THE CITY OF PETERSBURG

Hearing Date: January 06, 2022

COMMONWEALTH OF VIRGINIA
Vv. Case No(s): CR20000129-00 thru CR20000133-00

Charles Vanevera Hardenbergh,

Defendant

NOLLE PROSEQUI ORDER

The Attorney for the Commonwealth moved for the entry of a

Nolle Prosequi to which motion the defendant consented.

Thereupon, the Court, upon motion of the Commonwealth and for

good cause shown, doth ORDER that the above styled case be Nolle
Prosequi.

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JUDGE, DANIEL t BALFOUR

Case 3:23-cv-00017-HEH Document 1-10 Filed 01/05/23 Page 2 of 2 PagelD# 62

VIRGINIA: IN THE CIRCUIT COURT OF THE CITY OF PETERSBURG

Hearing Date: January 06, 2022

COMMONWEALTH OF VIRGINIA
v. Case No(s): CR20000134-00 thru CR20000137-00

Mari Liza Hardenbergh,

Defendant

NOLLE PROSEQUI ORDER

The Attorney for the Commonwealth moved for the entry of a

Nolle Prosequi to which motion the defendant consented.

Thereupon, the Court, upon motion of the Commonwealth and for
good cause shown, doth ORDER that the above styled case be Nolle
Prosequi.

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JUDGE, DANIEL T. BALFOUR

